   Case 2:10-md-02179-CJB-DPC Document 27093-1 Filed 05/11/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


 In Re: Oil Spill by the Oil Rig “Deepwater          §   MDL NO. 2179
 Horizon” in the Gulf of Mexico, on April 20,        §
 2010                                                §   SECTION: J
                                                     §
 This document relates to:                           §
 Gulf Marine Institute of Technology and             §   JUDGE BARBIER
 BioMarine Technologies, Inc. vs.                    §
 BP America Production Company and BP                §   MAGISTRATE JUDGE WILKINSON
 Exploration & Production, Inc., et al.              §
 Case No. 2:13-cv-01286-CJB-DPC                      §
                                                     §


                                            ORDER

       Considering Halliburton Energy Services, Inc.’s Ex Parte Motion to Join in and Adopt the

Arguments Made in BP’s Motion for Summary Judgment Regarding the Claim of Plaintiffs Gulf

Marine Institute of Technology and BioMarine Technologies, Inc. (Rec. Doc. 27078), the Court

finds that the Ex Parte Motion to Join and Adopt has merit, and is supported by law, therefore, it

is hereby GRANTED.



                                                 UNITED STATES DISTRICT JUDGE
